      Case 16-42146-rfn7 Doc 135 Filed 02/20/18          Entered 02/20/18 11:36:31        Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.



Signed February 20, 2018
                                           United States Bankruptcy Judge
______________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION
     _____________________________________
                                            §
     IN RE:                                 §
                                            §
     SUPERIOR LUBRICANTS TRANSPORT          §     Case No. 16-42146-rfn-7
     INC.,                                  §
     a/k/a Superior Transport,              §
                                            §
                    DEBTOR.                 §
     _____________________________________ §

      AMENDED AGREED ORDER REGARDING TRUSTEE’S MOTION FOR
       AUTHORITY TO SELL DOOLING STREET PROPERTY FREE AND
        CLEAR OF DISPUTED LIENS, CLAIMS AND ENCUMBRANCES
            On this day, came on for consideration the Trustee’s Motion for Authority to Sell

     Dooling Street Property Free and Clear of Disputed Liens, Claims and Encumbrances

     [Docket No. 120] filed by Cavazos, Hendricks, Poirot & Smitham, P.C., on December 20, 2017

     on behalf of Marilyn Garner, the Chapter 7 Trustee (the “Trustee”). The only Objection [Docket

     No. 123] to the Motion was filed by Integra Funding Solutions, LLC (“Integra”). Integra has

     agreed to the entry of this Order as, once the full amount of its secured claim and per diem




     AMENDED AGREED ORDER APPROVING MOTION TO SELL                                         1 of 3
Case 16-42146-rfn7 Doc 135 Filed 02/20/18             Entered 02/20/18 11:36:31         Page 2 of 3



interest have been determined, the full allowed claim will be paid at the time of closing. The

parties have advised this Court that they are continuing to seek to resolve their dispute as to the

amount and thus have moved the hearing on the Claim Objection [Doc. 109] and Integra’s

Motion and Application [Docs. 104 and 105] have been reset. Consequently, this Court has

considered just the Sale Motion, without hearing, and is of the opinion that the Trustee’s Motion

should be approved; It is therefore,

       ORDERED that the Motion should be and hereby is GRANTED; it is further

       ORDERED that the Trustee be authorized, and hereby has approval to sell the Debtor’s

fee ownership of the Property (more specifically described in Ex. A hereto) to the JGooden,

LLC, in accordance with the sale terms set forth in the Motion and prior Settlement Agreement

and Compromise; And it is further

       ORDERED that all real estate taxes, closing costs, and the full allowed amount of

Integra’s claim shall be paid at the time of the closing, with all other lien claims of record which

the buyer is not taking subject to, shall attach to the sales proceeds to be addressed by separate

court orders; And it is further

       ORDERED that Integra’s lien shall attach to the sales proceeds arising from the sale of

the Property in the same priority as Integra’s lien against the Property held at the time of the sale

of the Property. After the payment of the real estate taxes assessed against the Property and

ordinary and reasonable closing costs, no other or further use or distribution of the sale proceeds

shall be made by the Trustee until Integra’s claim has been paid in full. If Integra’s claim has not

been determined by the Court as of the date of closing, the Trustee shall continue to hold the net

sale proceeds after paying real estate taxes and closing costs, until Integra’s claim has been

determined by the Court and paid in full; And it is further




AMENDED AGREED ORDER APPROVING MOTION TO SELL                                           2 of 3
Case 16-42146-rfn7 Doc 135 Filed 02/20/18            Entered 02/20/18 11:36:31            Page 3 of 3



        ORDERED that Notwithstanding anything herein to the contrary, the liens securing

payment of the current-year ad valorem property taxes shall remain attached to the property to

secure payment of all ad valorem property taxes assessed on the property for the current tax year

and any penalties and interest that may accrue thereon. And it is further

        ORDERED that the Trustee be authorized, and hereby has approval to proceed to close a

sale under the back-up buyer’s contract if JGooden, LLC does not perform.

                                        ### END OF ORDER ###




Order drafted by:                                 APPROVED FOR ENTRY:
                                                  /s/ J. Robert Forshey (w/ permission)
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AMENDED AGREED ORDER APPROVING MOTION TO SELL                                              3 of 3
